          Case 4:11-cr-00069-JLH Document 34 Filed 04/10/12 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  No. 4:11CR00069-01 JLH

BROOKE MARIE MARTINEZ                                                             DEFENDANT

                                             ORDER

       In open court on this date, the government made an oral motion that the Indictment against

defendant Brooke Marie Martinez be dismissed. Without objection, the motion is granted. Count

one of the Indictment is hereby dismissed as to this defendant.

       IT IS SO ORDERED this 10th day of April, 2012.



                                                     ___________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
